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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                   )
                                             )
        v.                                   )      Case No. 21-CR-453 (JDB)
                                             )
 SEAN MICHAEL MCHUGH,                        )
                                             )
                       Defendant.            )
                                             )


                                           ORDER
       Upon consideration of the Defendant’s Motion For Discovery and an Evidentiary

Hearing in Support of His Claim of Selective Prosecution, it is this ____ day of ____________,

2023

       ORDERED that said motion be, and hereby is, GRANTED and, further

       ORDERED that the Attorney for the United States is to produce and turn over to Counsel

for the Defendant any discovery materials responsive to the Defendant’s Motion and, further

       ORDERED that an evidentiary hearing shall be held in this matter on the ____ day of

_____________, 2023.




Dated _____, day of ____________, 2023.




                                                   ____________________________________
                                                   Honorable John D. Bates
                                                   United States District Court Judge
